                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


JEANNE OLSON, not individually,                )
But as Trustee of the William Amor Trust       )
                                               )
       Plaintiff,                              )
                                               )
               v.                              )               Case No. 18-cv-02523
                                               )
REBECCA GOMEZ, as Special                      )
Representative for Michael Cross,              )               The Hon. John J. Tharp, Jr.
Deceased, et al.,                              )
                                               )
       Defendants.                             )


           MOTION TO LIMIT THE TESTIMONY OF EXPERT WITNESSES
            DR. ZOE ARVANITAKIS, DR. JENNIFER AHMADIAN, AND
                  NURSE PRACTICIONER EILEEN SCHEDEL

       Plaintiff Jeanne Olson (“Plaintiff”) moves pursuant to Rule 702 of the Federal Rules of

Evidence and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589 (1993) to bar the

proposed expert testimony of Dr. Zoe Arvanitakis, Dr. Jennifer Ahmadian and Nurse Practitioner

Eileen Schedel. In support thereof, Plaintiff states as follows:

                                            Introduction

       The Defendants have identified three experts to testify about the exact same thing: that

prior to his death, Michael Cross was diagnosed with dementia. While Plaintiff does not dispute

that Mr. Cross’s medical diagnosis is admissible, there is no need to have three experts testify to

it. As a result, Plaintiff seeks to bar the use of three experts as cumulative. Additionally, to the

extent that these experts are going to testify that Mr. Cross testified a particular way either at Bill

Amor’s criminal retrial or in Mr. Cross’s deposition because of Mr. Cross’s dementia—e.g., he
could not remember certain events—Plaintiff seeks to bar that testimony as an inadmissible

attempt to opine on Mr. Cross’s credibility.

                                        Relevant Opinions

       In their Rule 26(a)(2) disclosures, the Defendants identified three medical experts to

opine on Mr. Cross’s dementia—Dr. Zoe Arvanitakis, Dr. Jennifer Ahmadian and Nurse

Practitioner Eileen Schedel. Ex. 1 (Defs. Rule 26(a)(2) Discl.). Dr. Arvanitakis is a retained

expert, who has provided a report indicating that as of June 21, 2021, Mr. Cross had mild

dementia, most likely attributable to vascular and Alzheimer’s disease, which was worsening.

Ex. 2 (Arvanitakis Report) at 2. (Mr. Cross passed away on September 22, 2022.) Dr. Ahmadian

and Ms. Schedel are non-retained experts who, according to the Defendants’ disclosure, will

testify to their “neurological examination[s], diagnos[e]s, and treatment of defendant Michael

Cross , and [their] reports prepared regarding same . . . .” Ex. 1 (Defs. Rule 26(a)(2) Discl.) at 4.

                                               Standard

       “[A]ll witnesses who are to give expert testimony under the Federal Rules of Evidence

must be disclosed under Rule 26(a)(2)(A),” a disclosure which “should be in writing, signed by

counsel, and served to opposing counsel.” Musser v. Gentiva Health Servs., 356 F.3d 751, 756

(7th Cir. 2004). Additionally, a witness who is “‘retained or specially employed to provide

expert testimony’ must submit an expert report complying with Rule 26(a)(2)(B).” Id. at 756-57.

Under Federal Rule of Civil Procedure 26(a)(2)(C) the disclosure for a non-retained expert “must

state: (i) the subject matter on which the witness is expected to present evidence under Federal

Rule of Evidence 702, 703, or 705; and (ii) a summary of the facts and opinions to which the

witness is expected to testify.”




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I.     The Defendants’ Disclosures for Dr. Ahmadian and Ms. Schedel are Deficient

       As an initial matter, the Defendants’ disclosures for their non-retained medical experts—

Dr. Ahmadian and Ms. Schedel—are deficient. Rule 26(a)(2)(C)(ii) requires that the disclosure

of a non-retained expert include “a summary of the facts and opinions to which the witness is

expected to testify.” Fed. R. Civ. P. 26(a)(2)(C)(ii). While “summaries do not have to be nearly

as detailed as (a)(2)(B) retained expert reports . . . summaries still must, not surprisingly,

summarize the ‘facts and opinions to which the witness is expected to testify.’” Browar v. Unum

Life Ins. Co. of Am., No. 17 C 03643, 2018 WL 11184648, at *3 (N.D. Ill. Dec. 12, 2018)

(quoting Rule 26(a)(2)(C)). That requirement “is not satisfied by a mere statement of the topics

of the opinions” or by the “amorphous characterization—'consistent with their deposition

testimony’ . . . .” Rivera v. AllState Ins. Co., 140 F. Supp. 3d 722, 737 (N.D. Ill. 2015) (internal

quotations omitted); Martinez v. Garcia, No. 08 C 2601, 2012 WL 12878716, at *1 (N.D. Ill.

Nov. 5, 2012).

       Here, the Defendants have not identified any facts that either Dr. Ahmadian or Ms.

Schedel will testify about. To the contrary, they have simply listed topics—their “neurological

examination[s], diagnos[e]s, and treatment of defendant” and attendant “reports.” Ex. 1 (Defs.

Rule 26(a)(2) Discl.) at 4. Courts have routinely held that identifying “topics” without the

attendant facts or opinions is insufficient under the Rules. Rivera, 140 F. Supp. 3d at 737;

Martinez, 2012 WL 12878716, at *1. For that reason alone, Dr. Ahmadian and Ms. Schedel

should be barred.

II.    The Defendants Cannot Call Three Witnesses to Testify About the Same Thing

       Alternatively, even if this Court finds that the Defendants’ disclosures were sufficient—

which they are not—the Defendants should be precluded from calling three experts to testify to



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the same thing. Federal Rule of Evidence (“Rule”) 403 “applies to expert testimony just as it

applies to any other evidence.” In re Testosterone Replacement Therapy Prod. Liab. Litig.

Coordination Pretrial Proc., No. 14 C 1748, 2018 WL 1316724, at *2 (N.D. Ill. March 14,

2018). “In keeping with this rule, ‘this district generally prohibits a party from offering multiple

experts to express the same opinions on a subject.’” Kaepplinger v. Michelotti, No. 17 C 5847,

2022 WL 267886, at *4 (N.D. Ill. Jan. 28, 2022) (quoting Sunstar, Inc. v. Alberto-Culver Co.,

No. 01 C 736, 2004 WL 1899927, at *25 (N.D. Ill. Aug. 23, 2004)). “Multiple expert witnesses

expressing the same opinions on a subject is a waste of time and needlessly cumulative. It also

raises the unfair possibility that jurors will resolve competing expert testimony by ‘counting

heads’ rather than evaluating the quality and credibility of the testimony.” Sunstar, Inc., 2004

WL 1899927, at *25.

       For these reasons, Plaintiff seeks to bar Drs. Arvanitakis and Ahmadian and Ms. Schedel

from all testifying: Doing so would not only be “a waste of time and needlessly cumulative” but

also highly prejudicial to Plaintiff. Id. The Defendants should be forced to pick one of three

medical experts to testify that Mr. Cross had dementia at the time he testified at Mr. Amor’s

criminal retrial and in his deposition.

III.   The Medical Experts Cannot Opine on Mr. Cross’s Credibility

       Finally, any expert called to testify about Mr. Cross’s dementia should be barred from

opining that his dementia was the cause of testimony that Mr. Cross gave. For example, the

medical experts cannot testify that Mr. Cross’s inability to remember certain events that occurred

in 1995 at Mr. Amor’s criminal retrial in 2018, or at Mr. Cross’s deposition in 2020, was the

result of his dementia—as opposed to simply the passage of time. Were they permitted to do so,

the experts would impermissibly be testifying about the credibility of Mr. Cross. Goodwin v.



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MTD Prod., Inc., 232 F.3d 600, 609 (7th Cir. 2000) (“[A]n expert cannot testify as to credibility

issues. Rather, credibility questions are within the province of the trier of fact.”).

                                             Conclusion

       For all of the reasons stated above, the Defendants should not be allowed to call three

experts to testify about Mr. Cross’s medical condition. Moreover, if permitted, the expert should

be barred from opining that the dementia caused Mr. Cross to testify in a particular manner (as

opposed to any number of other reasons). The jury can make that determination for itself.

       WHEREFORE Plaintiff respectfully requests that this Court limit the testimony of Dr.

Zoe Arvanitakis, Dr. Jennifer Ahmadian and Nurse Practitioner Eileen Schedel as stated above.

                                               Respectfully submitted,

                                               JEANNE OLSON, Not Individually But
                                               As Trustee of the William Amor Trust

                                               By:       /s/ Gayle Horn
                                                       Attorney for the Trustee

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                                  CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that on May 17, 2024, he caused the foregoing
document to be served on all counsel of record by filing the same using the Court’s CM/ECF
system, which automatically effected service on all counsel of record.


                                                           /s/ Gayle Horn




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